                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


CHRISTINA WICHMAN, as personal                 )
representative of the ESTATE OF JASON          )
ALLEN WICHMAN,                                 )
                                               )
                                    Plaintiff, )
                                               )
      vs.                                      )
                                               )
NATIONAL TRANSPORTATION SAFETY )
BOARD, KATHLEEN SILBAUGH, General )
Counsel, NTSB, in her official capacity,       )
LAWRENCE LEWIS, and CLINT JOHNSON, )                          No. 3:18-cv-0257-HRH
                                               )
                                  Defendants. )
_______________________________________)



                                         ORDER

                                       Case Dismissed

       The court is in receipt of the parties’ Stipulation for Dismissal with Prejudice,1
filed April 8, 2019. The stipulation is approved, and this matter is hereby dismissed with
prejudice, the parties to bear their respective costs and attorney fees.

       DATED at Anchorage, Alaska, this 9th day of April, 2019.



                                                   /s/ H. Russel Holland
                                                   United States District Judge




       1
        Docket No. 15.

Order – Case Dismissed                                                                      -1-

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